Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 1 of 10

U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

November 18, 2020
Joshua Hanye, Esq.
Federal Public Defender Office
51 Sleeper Street, 5“ Floor
Boston, MA 02110

Re: United States v. Winston McGhee
Criminal No, 20-10136-RGS-2

Dear Mr. Hanye:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Winston McGhee (“Defendant”), agree as follows with respect to the above-referenced
case:

1. Change of Plea

At the earliest practicable date, Defendant shall waive indictment and plead guilty to the
Superseding Information attached to this Plea Agreement charging him with: conspiracy to
distribute and possess with intent to distribute cocaine and cocaine base, in violation of 21 U.S.C.
§ 846 (Count One); and being a felon possession of a firearm, in violation of 18 U.S.C. § 922(g)(1)
(Count Two). Defendant expressly and unequivocally admits that he committed the crimes
charged in the Superseding Information, did so knowingly and intentionally, and is in fact guilty
of those offenses.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on Count One
of the Superseding Information: incarceration for up to 30 years; supervised release for at least six
years up to life; a fine of $2,000,000; a mandatory special assessment of $100; and forfeiture to
the extent charged in the Superseding Information.

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 2 of 10

Defendant faces the following maximum penalties for Count Two: incarceration for ten
years; supervised release for three years; a fine of $250,000; a mandatory special assessment of
$100; and forfeiture to the extent charged in the Superseding Information.

3. Fed. R. Crim. P. 11(c)(1)(C) Plea

This Plea Agreement is made pursuant to Fed. R. Crim. P. 11(c)(1)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance with Rule 11(c)(1)(C), if the
District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and acknowledges
that he may not withdraw his plea of guilty unless the Court rejects this Plea Agreement under
Fed. R. Crim. P. 11(c)(5).

4, Sentencing Guidelines

The parties agree jointly to take the following positions at sentencing under the United
States Sentencing Guidelines (“USSG” or “Guidelines”). The parties agree that Defendant’s total
adjusted offense level under the Guidelines is calculated as follows:

e inaccordance with USSG § 2D1.1.(c)(8), Defendant’s base offense level is 24,
because Defendant is responsible for between 500 grams and two kilograms of
cocaine;

e inaccordance with USSG § 2D1.1(b)(1), Defendant’s offense level is increased
by two levels because defendant possessed a firearm; and

e inaccordance with USSG § 3E1.1, based on Defendant’s prompt acceptance of
personal responsibility for the offenses of conviction in this case, the adjusted
offense level is reduced by three.

The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this
case is based, in part, on Defendant’s prompt acceptance of personal responsibility for the offenses
of conviction in this case.

The U.S. Attorney may, at his sole option, be released from his commitments under this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 3 of 10

(b)
(c)

(d)

(e)

(f)

(g)
(h)
(i)

()

Fails to truthfully admit Defendant’s conduct in the offenses of conviction;

Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1B1.3;

Fails to provide truthful information about Defendant’s financial status;
Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § 1B1.3;

Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.1;

Intentionally fails to appear in Court or violates any condition of release;
Commits a crime;

Transfers any asset protected under any provision of this Plea Agreement,
or

Attempts to withdraw Defendant’s guilty plea.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete-information regarding this case. |

5. Agreed Disposition

Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

(a)
(b)

(c)
(d)

(e)

incarceration for 115 months;

no fine;
72 months of supervised release;

a mandatory special assessment of $200, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so);
and

forfeiture as set forth in Paragraph 7.

3

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 4 of 10

(a)

(b)

(c)

(d)

Waiver of Right to Appeal and to Bring Future Challenge

Defendant has conferred with his attorney and understands that he has the
tight to challenge his conviction in the United States Court of Appeals for
the First Circuit (“direct appeal”). Defendant also understands that, in some
circumstances, Defendant may be able to challenge his conviction in a
future proceeding (collateral or otherwise), such as pursuant to a motion
under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
to challenge Defendant’s conviction on direct appeal or in any future
proceeding (collateral or otherwise).

Defendant has conferred with his attorney and understands that defendants
ordinarily have a right to challenge in a direct appeal their sentences
(including any orders relating to the terms and conditions of supervised
release, fines, forfeiture, and restitution) and may sometimes challenge their
sentences (including any orders relating to the terms and conditions of
supervised release, fines, forfeiture, and restitution) in a future proceeding
(collateral or otherwise). The rights that are ordinarily available to a
defendant are limited when a defendant enters into a Rule 11(c)(1)(C)
agreement. In this case, Defendant waives any rights Defendant may have
to challenge the agreed-upon sentence (including any agreement relating to
the terms and conditions of supervised release, fines, forfeiture, and
restitution) on direct appeal and in a future proceeding (collateral or
otherwise), such as pursuant to 28 U.S.C. § 2255 and 28 U.S.C. § 2241.
Defendant also waives any right Defendant may have under 18 U.S.C.
§ 3582(c)(2) to ask the Court to modify the sentence, even ifthe USSG are
later amended in a way that appears favorable to Defendant. Likewise,
Defendant agrees not to seek to be resentenced with the benefit of any
change to Defendant’s Criminal History Category that existed at the time of
Defendant’s original sentencing. Defendant also agrees not to challenge the
sentence in an appeal or future proceeding (collateral or otherwise) even if
the Court rejects one or more positions advocated by any party at
sentencing. In sum, Defendant understands and agrees that in entering into
this Plea Agreement, the parties intend that Defendant will receive the
benefits of the Plea Agreement and that the sentence will be final.

The U.S. Attorney agrees that he will not appeal the imposition by the Court
of the sentence agreed to by the parties as set out in Paragraph 5, even if the
Court rejects one or more positions advocated by either party at sentencing.

Regardless of the previous subparagraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel

4

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 5 of 10

under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

7, Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following:

a. $20,054, which was seized on or about June 24, 2020, from 430 Washington

Street;
b. Approximately $4,930, which was seized on or about June 24, 2020, from 214

Harvard Street, Apt. 1E;

c. aGlock, model 35, .40 S&W caliber, semi-automatic pistol, bearing serial
number DZF649, seized on or about June 24, 2020;

d. twenty rounds of Winchester brand 5.56MM ammunition, seized on or about

June 24, 2020;
e. thirteen rounds of assorted brand .40 S&W caliber ammunition, seized on or

about June 24, 2020;
f. one extended Glock magazine and one Glock magazine, seized on or about

June 24, 2020; and
g. awhite 2014 Ford F-150, VIN 1FTFWIETOEFA25731.

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense; they were used to facilitate
Defendant’s offense; and/or they were involved in Defendant’s offense. Defendant agrees to
consent to the entry of orders of forfeiture for such property and waives the requirements of Federal
Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding notice of the forfeiture in the
charging instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment. Defendant
understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty, restitution,
cost of imprisonment, tax liability or any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,

5

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 6 of 10

assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

8. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

9, Withdrawal of Plea by Defendant or Rejection of Plea by Court

Should Defendant move to withdraw his guilty plea at any time, or should the Court reject
the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement, this
Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event, Defendant
agrees to waive any defenses based upon the statute of limitations, the constitutional protection
against pre-indictment delay, and the Speedy Trial Act with respect to any and all charges that
could have been timely brought or pursued as of the date of this Plea Agreement.

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 7 of 10

10. Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has violated
any condition of Defendant’s pretrial release, or has committed any crime following Defendant’s
execution of this Plea Agreement, the U.S. Attorney may, at his sole option, be released from his
commitments under this Plea Agreement in their entirety by notifying Defendant, through counsel
or otherwise, in writing. The U.S. Attorney may also pursue all remedies available to him under
the law, regardless whether he elects to be released from his commitments under this Plea
Agreement. Further, the U.S. Attorney may pursue any and all charges which otherwise may have
been brought against Defendant and/or have been, or are to be, dismissed pursuant to this Plea
Agreement. Defendant recognizes that his breach of any obligation under this Plea Agreement
shall not give rise to grounds for withdrawal of Defendant’s guilty plea, but will give the U.S.
Attorney the right to use against Defendant before any grand jury, at any trial or hearing, or for
sentencing purposes, any statements made by Defendant and any information, materials,
documents or objects provided by Defendant to the government, without any limitation, regardless
of any prior agreements or understandings, written or oral, to the contrary. In this regard,
Defendant hereby waives any defense to any charges that Defendant might otherwise have based
upon any statute of limitations, the constitutional protection against pre-indictment delay, or the
Speedy Trial Act.

11. Whois Bound by Plea Agreement
This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and

cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 8 of 10

12. Modifications to Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Timothy E. Moran.

Very truly yours,

ANDREW E. LELLING
United States Attorney

By: — s/ Glenn A. MacKinla
GLENN A. MACKINLAY

Chief, Organized fe Gang Unit
LaF Ui; —
TIMOTHY E. MORAN

KAITLIN O’? DONNELL
Assistant U.S. Attorneys

 

 

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 9 of 10

ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney’s
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which I have agreed to
plead guilty, the mandatory minimum and maximum penalties for those offenses, and the
Sentencing Guideline penalties potentially applicable to them. I am satisfied with the legal
representation provided to me by my attorney. We have had sufficient time to meet and discuss
my case. We have discussed the charges against me, possible defenses I might have, the terms of
this Plea Agreement and whether I should go to trial. I am entering into this Plea Agreement
freely, voluntarily, and knowingly because I am guilty of the offenses to which I am pleading
guilty and I believe this Plea Agreement is in my best interest.

 

WINSTON MCGHEE
Defendant

Date:

 

I certify that Winston McGhee has read this Plea Agreement and that we have discussed
its meaning. I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily and knowingly. I also certify that the U.S. Attorney has not extended any other
offers to resolve this matter.

 

JOSHUA HANYE
Attorney for Winston McGhee

Date:

 

 
Case 1:20-cr-10136-RGS Document 233 Filed 12/21/20 Page 10 of 10

ACKNOWLE

 

| have read this letter in its entirety and discussed it with my attorney, I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which | have agreed to
plead guilty, the mandatory minimum and maximum penalties for those offenses, and the
Sentencing Guideline penalties potentially applicable to them. | am satisfied with the legal
representation provided to me by my attorney. We have had sufficient time to meet and discuss
my case. We have discussed the charges against me, possible defenses I might have, the terms of
this Plea Agreement and whether | should go to trial. | am entering into this Plea Agreement
freely, voluntarily, and knowingly because I am guilty of the offenses to which | am pleading
guilty and I believe this Plea Agreement is in my best interest.

thst MYbe
WINSTON MCGHEE
Defendant

Date: _/ 2 6. {20

| certify that Winston McGhee has read this Plea Agreement and that we have discussed
its meaning. | believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily and knowingly. I also certify that the U.S. Attorney has not extended any other

offers to resolve this matter,

JOSHUA HANYE
Attorney for Winston McGhee

vase: We pL?

 
